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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                               LYNCHBURG DIVISION


     TERESA MOREY,
                                               Plaintiff,

     v.                                                          Case No. 6:19-CV-24

     AVANTE AT LYNCHBURG, INC.,
     AVANTE GROUP, INC.,
     CURIS AT LYNCHBURG OPCO, LLC,
     d/b/a CURIS AT LYNCHBURG NURSING AND
     REHABILITATION CENTER,
     CURIS AT LYNCHBURG PROPCO, LLC,
     CURIS HEALTH SYSTEMS, LLC,
     SENTOSACARE, LLC,
                                   Defendants.


          STIPULATION OF DISMISSAL OF CURIS/SENTOSA DEFENDANTS ONLY


          Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff Teresa

 Morey and Defendants Avante at Lynchburg, Inc., Avante Group, Inc., Curis at Lynchburg Opco,

 LLC, Curis at Lynchburg Propco, LLC, Curis Health Systems, LLC, and SentosaCare, LLC, by

 counsel, stipulate to the dismissal of the following four parties only (the “Curis/Sentosa

 Defendants”), with prejudice:

 •        Curis At Lynchburg Opco, LLC;
 •        Curis At Lynchburg Propco, LLC;
 •        Curis Health Systems, LLC; and
 •        SentosaCare, LLC


 This dismissal does not apply to the Avante Defendants (Avante at Lynchburg, Inc. and Avante

 Group, Inc.). Plaintiff is proceeding with her claims against the Avante Defendants.
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 Respectfully submitted,



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                                CERTIFICATE OF SERVICE

 I hereby certify that on April 16, 2020, I electronically filed the foregoing with the Clerk of
 the Court using the CM/ECF system which will send notification of such filing to all counsel of
 record.

 /s/Timothy Coffield
 Counsel for Plaintiff




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